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Attorneys for Defendant CACH, LLC


                               UNITED STATES DISTRICT COURT

                                       DISTRICT OF IDAHO


DALE AUSTIN,                                            Case No. 1:21-cv-170-CRK

                 Plaintiff,                             JOINT NOTICE OF SETTLEMENT

vs.

EXPERIAN INFORMATION SOLUTIONS,
INC. and CACH, LLC,
                 Defendants.


          Plaintiff Dale Austin (“Plaintiff”), by and through his undersigned counsel, and

Defendant CACH, LLC (“CACH”), by and through its undersigned counsel, hereby notify the

Court that they have reached an agreement to resolve Plaintiff’s claims against CACH. The

parties are in the process of executing a settlement agreement on the terms to which they have

agreed.




JOINT NOTICE OF SETTLEMENT - 1
                                                                                 59285.0001.13946328.1
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          Once the settlement agreement is executed, and pursuant to its terms, Plaintiff’s claims

against CACH will be dismissed with prejudice. While the parties are finalizing their agreement,

the parties are in agreement that CACH need not participate in the Scheduling Conference

hearing to be conducted in this case on July 29, 2021, and all other deadlines as to CACH are

stayed.

           DATED THIS 28th day of July, 2021.

                                                 HAWLEY TROXELL ENNIS & HAWLEY LLP




                                                 By /s/ Brent R. Wilson
                                                    Dane Bolinger
                                                    Brent R. Wilson
                                                    Attorneys for Defendant CACH, LLC


           DATED THIS 28th day of July, 2021.

                                                 BARKLEY SMITH LAW, PLLC




                                                 By /s/ Barkley B. Smith
                                                    Barkley B. Smith
                                                    Attorneys for Plaintiff Dale Austin




JOINT NOTICE OF SETTLEMENT - 2
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 28th day of July, 2021, I electronically filed the
foregoing JOINT NOTICE OF SETTLEMENT with the Clerk of the Court using the CM/ECF
system which sent a Notice of Electronic Filing to the following persons:

Barkley B. Smith                             barkley@barkleysmithlaw.com
BARKLEY SMITH LAW, PLLC

Sean Yi                                      syi@jonesday.com
JONES DAY

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STOEL RIVES




                                         /s/ Brent R. Wilson
                                         Brent R. Wilson




JOINT NOTICE OF SETTLEMENT - 3
                                                                        59285.0001.13946328.1
